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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

Case No. CV19-10374 SB (Ex)                                                  Date: June 29, 2022
Title       Thimes Solutions Inc. v. TP Link USA Corporation et al.


Present:    The Honorable Charles F. Eick, United States Magistrate Judge


                 Valencia Munroe                                           N/A
                  Deputy Clerk                                    Court Reporter / Recorder

           Attorney Present for Plaintiff:                    Attorney Present for Defendant:
                   None present                                        None present



Proceedings: IN CHAMBERS

The Magistrate Judge has read and considered all papers filed in support of and in opposition to
“Plaintiff’s Motion to Compel Defendant TP-Link to Produce Documents” (“the Motion”), filed
June 15, 202. The previously noticed July 8, 2022 hearing is vacated. The Magistrate Judge has
taken the Motion under submission without oral argument.

Plaintiff served the subject requests for production in 2020, when all of the pleaded claims were
antitrust claims. Now, the operative “Amended Fifth Amended Complaint,” filed May 27, 2022,
alleges only trade libel and interference claims. Primarily at issue in the Motion is the extent to
which the subject requests are relevant and proportional to the current claims, notwithstanding the
fact that none of those claims had been pleaded at the time the requests were served. See Fed. R.
Civ. P. 26(b).

Preliminarily, although strict compliance with the Local Rules is ordinarily required, the Magistrate
Judge declines to deny the Motion based on Plaintiff’s alleged failure to comply strictly with Local
Rule 37. Plaintiff’s compliance was substantial, any non-compliance was ultimately immaterial, and
the schedule set by the District Judge on May 20, 2022, suggests a need to resolve the present
discovery dispute expeditiously.

The Motion is granted in part and denied in part as follows:

Request No. 1: Granted.

Request No. 2: Denied as not proportional.

Request No. 3: Granted.


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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

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Request No. 4: Granted.

Request No. 5: Denied as not proportional.

Request No. 6: Denied as not proportional.

Request No. 7: Granted in part, but limited to communications relating to Plaintiff. Otherwise denied
as not proportional.

Request No. 8: Granted in part, but limited to communications relating to Plaintiff. Otherwise denied
as not proportional.

Request No. 9: Denied as not proportional.

Request No. 10: Denied as not proportional.

Request No. 11.: Granted in part, but limited to communications relating to complaints about
Plaintiff. Otherwise denied as not proportional.

Request No. 12: Granted in part, but limited to communications relating to Amazon’s resolution of
intellectual property complaints filed against Plaintiff by or on behalf of Defendant. Otherwise
denied as not proportional.

Request No. 13: Granted in part, but limited to contracts (and drafts thereof) related to Amazon.
Otherwise denied as irrelevant or not proportional.

Request No 14: Granted in part, limited to documents and communications relating to unauthorized
sales by Plaintiff. Otherwise denied as not proportional.

Request No. 15: Denied as not proportional.

Request No. 16: Denied as not proportional.

Request No. 26: Denied as not proportional.

Request No. 27: Granted.

To the extent the Motion is granted, the Magistrate Judge has determined that: (1) the documents
sought are relevant to the parties’ claims or defenses and proportional to the needs of the case, within


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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

Case No. CV19-10374 SB (Ex)                                                             Date: June 29, 2022
Title      Thimes Solutions Inc. v. TP Link USA Corporation et al.

the meaning of Rule 26(b); and (2) Plaintiff’s need for the documents outweighs the asserted interest
of Defendant TP-Link USA Corp. (“Defendant”) in maintaining the alleged confidentiality of the
documents under any potentially applicable qualified privilege (such as trade secret), particularly
given the “Stipulated Protective Order,” filed November 6, 2020.

To the extent the Motion is granted, Defendant forthwith shall conduct a reasonable and diligent
search for responsive documents within Defendant’s possession, custody or control. On or before
July 18, 2022, Defendant must produce all responsive documents other than those documents
withheld under claim of the attorney-client privilege or the work product doctrine. All such withheld
documents must be identified with particularity on a privilege log served on or before July 18, 2022.

The Motion is denied to the extent the Motion seeks an order requiring Defendant to disclose “the
sources and custodians from which [Defendant] is collecting ESI, as well as the search terms ...”
(“Plaintiff’s Notice of Motion etc.,” filed June 15, 2022, at p. 1). “Generally, discovery on discovery
is disfavored and, to be both relevant and proportional to the needs of the case, a party seeking it
must show a specific deficiency in the other party’s production.” Uschold v. Carriage Services, Inc.,
2019 WL 8298261, at *4 (N.D. Cal. Jan. 22, 2019)(citations and quotations omitted). Plaintiff has
failed to show any specific deficiency here.

Except as expressly stated herein, the Motion is denied. All parties’ requests for sanctions are also
denied.




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                                                                 Initials of Preparer           VM




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